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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Andrey Prokhorov
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:24−cv−01369
                                                                   Honorable LaShonda A.
                                                                   Hunt
The Partnerships and Unincorporated Associations
Identified on Schedule A
                                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, March 8, 2024:


        MINUTE entry before the Honorable LaShonda A. Hunt: Plaintiff's Motion for
Preliminary Injunction [22] is taken under advisement. A telephonic motion hearing is set
for 3/21/24, at 9:30 AM. Attorneys/parties should appear for the hearing by calling the
Toll−Free Number: 877−336−1828, Access Code: 4082461. Members of the public and
media will be able to call in to listen to this hearing. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting court proceedings. The motion may be considered unopposed as to any
Defendant who does not file an objection by 3/20/24 and/or appear at the telephonic
hearing. For the reasons stated in the Court's initial order entering the TRO, the TRO is
extended to and including the date the Court adjudicates the motion for a preliminary
injunction. See H−D Mich., LLC v. Hellenic Duty Free Shops S.A., 694 F.3d 827, 843−45
(7th Cir. 2012). Because this extension exceeds the maximum duration for a TRO under
Fed. R. Civ. P. 65(b), this extension "becomes in effect a preliminary injunction that is
appealable, but the order remains effective." Id. at 844. Plaintiff must serve a copy of this
minute order upon all affected Defendants within one business day of its entry on the
docket and promptly file proof of that service. No appearance is necessary on 3/13/24.
Emailed notice. (cdh, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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